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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                Judge Raymond P. Moore

Criminal Case No. 13-cr-00473-RM

UNITED STATES OF AMERICA,

               Plaintiff,

v.

GARY SNISKY,

            Defendant.
______________________________________________________________________________

  FORFEITURE MONEY JUDGMENT AS TO GARY SNISKY AND PRELIMINARY
               ORDER OF FORFEITURE OF SUBSTITUTE ASSET
______________________________________________________________________________

       THIS MATTER comes before the Court on the United States’ Motion for Preliminary

Order of Forfeiture for a Personal Money Judgment against Defendant Gary Snisky (ECF No.

105) pursuant to Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure. The Court having

read said Motion and being fully advised in the premises finds:

       On November 19, 2013, the grand jury charged defendant Gary Snisky in Counts One

through Thirteen with violations of 18 U.S.C. § 1341 and Counts Fourteen through Eighteen

with violations of 18 U.S.C. § 1957. The Indictment also sought forfeiture in the form of a

personal money judgment against defendant Gary Snisky, pursuant to 18 U.S.C. § 981(a)(1()(C)

and 28 U.S.C. § 2461(c), in the amount of proceeds obtained by the scheme and by the defendant

less the amount of funds recovered from assets and property that have been forfeited, criminally

or civilly, which represented the proceeds obtained as a result of the offenses charged in Counts

One through Eighteen. (Doc. 2).

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       On February 5, 2015, the United States and defendant Gary Snisky entered a guilty plea

pursuant to a Plea Agreement, which provides a factual basis and cause to issue a personal

money judgment under 18 U.S.C. § 981(a)(1()(C) and 28 U.S.C. § 2461(c) and Rule 32.2(b) of

the Federal Rules of Criminal Procedure. (Doc. 100).

       THEREFORE, IT IS ORDERED, DECREED AND ADJUDGED:

       THAT a Preliminary Order of Forfeiture for a Personal Money Judgment against

defendant Gary Snisky, for which defendant Gary Snisky will be held jointly and severally liable

with any other person convicted in connection with the mail fraud scheme, in the amount of

$2,531,052.61 shall be entered in accordance with 18 U.S.C. § 981(a)(1()(C) and 28 U.S.C. §

2461(c). Pursuant to Federal Rule of Criminal Procedure 32.2(b)(4), this Forfeiture Money

Judgment shall become final as to the defendant at the time of sentencing and shall be made part

of the sentence and included in the judgment.

       THAT the Motion for Preliminary Order of Forfeiture of Substitute Asset is granted as to

$45,000.00 in United States currency.

       It is FURTHER ORDERED, that pursuant to the provisions of Rule 32.2(e)(1)(B) of the

Federal Rules of Criminal Procedure, defendant Snisky’s interest in the substitute asset identified

above is forfeited to the United States for disposition according to law. Such forfeiture shall be

in partial satisfaction of the defendant’s Forfeiture Money Judgment;

       THAT the United States is directed to seize the property subject to forfeiture, and further

to make its return as provided by law;




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       THAT the United States shall notice all potential third parties with an interest in the

subject asset and publish notice of this Preliminary Order of Forfeiture in accordance with 21

U.S.C. ' 853(n) via a government website for at least thirty consecutive days;

       THAT upon adjudication of all third-party interests, if any, the Court will enter a Final

Order of Forfeiture pursuant to Rule 32.2(c)(2) of the Federal Rules of Criminal Procedure, in

which all interests will be addressed; and

       THAT this Preliminary Order of Forfeiture may be amended pursuant to Rule 32.2(e)(1)

of the Federal Rules of Criminal Procedure.

       The Court shall retain jurisdiction to enforce this Order and adjudicate the interests of all

third-parties in any ancillary proceedings.

       DATED this 2nd day of June, 2015.

                                                      BY THE COURT:



                                                      ____________________________________
                                                      RAYMOND P. MOORE
                                                      United States District Judge




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